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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )            8:03CR387
                                            )
                    Plaintiff,              )
                                            )
      v.                                    )                 ORDER
                                            )
JOLYN GALE,                                 )
                                            )
                    Defendant.              )


      Before the court is the government’s motion for Rule 35(b) hearing. Filing No. 80.
Having considered the matter,
      IT IS ORDERED that:
      1. A Rule 35 hearing is scheduled before the undersigned on May 31, 2005, at 1:00
p.m. in Courtroom No. 3, Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza, Omaha,
Nebraska.
      2. At the request of the defendant through her counsel, and with the agreement of
the government, the defendant may be absent from the hearing on the Rule 35 motion.
      3. The Marshal is directed not to return the defendant to the district; and the
defendant is held to have waived her right to be present.
      4.    Counsel for the defendant, if previously appointed pursuant to the Criminal
Justice Act, is reappointed to represent the defendant for purposes of the Rule 35(b)
motion. If retained, counsel for the defendant remains as counsel for the defendant until
the Rule 35(b) motion is resolved or until given leave to withdraw.
      DATED this 2nd day of May, 2005.

                                            BY THE COURT:


                                            s/ Joseph F. Bataillon
                                            JOSEPH F. BATAILLON
                                            United States District Judge
